              Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 1 of 12




                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03010-APM

v.                                                     HON. AMIT P. MEHTA

GOOGLE LLC,

                                 Defendant.


STATE OF COLORADO, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03715-APM

v.                                                     HON. AMIT P. MEHTA

GOOGLE LLC,

                                 Defendant.




     PLAINTIFF STATES’ POSITION STATEMENT REGARDING CONFIDENTIALITY DISPUTES
     RELATED TO POST-TRIAL SUBMISSIONS AND RESPONSIVE POST-TRIAL SUBMISSIONS
        Pursuant to the Stipulated Confidentiality Management Order Regarding Responsive Post-Trial

Submissions, ECF No. 850, Plaintiff States report that they have no outstanding disputes with Google or any

third party regarding proposed redactions to Plaintiff States’ Post-Trial Submissions or Plaintiff States’

Responsive Post-Trial Submissions. Further, no disputes exist between Plaintiff States and Google as to

Google’s proposed redactions to information related only to Plaintiff States’ broader claims contained in

Google’s Post-Trial and Responsive Post-Trial Submissions.1


1
 Disputes remain between U.S. Plaintiffs and Google and U.S. Plaintiffs and certain third parties as to redactions to
Plaintiffs Post-Trial and Responsive Post-Trial Submissions and Plaintiff States support the positions articulated by U.S.
Plaintiffs in its separate filing.
             Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 2 of 12




       For the Court’s convenience, Plaintiff States are filing the following documents under seal with proposed

redactions consistent with the Court’s guidance and United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980).

The proposed redactions are indicated by red box.

    1. Plaintiff States’ Post-Trial Brief (Attachment A)

    2. Plaintiff States’ Proposed Findings of Fact (Attachment B)

    3. Plaintiff States’ Proposed Conclusions of Law (Attachment C)

    4. Plaintiff States’ Responsive Proposed Findings of Fact (Attachment D)

    5. Plaintiff States’ Responsive Conclusions of Law (Attachment E)

       Plaintiff States are prepared to file redacted versions of these documents on the public docket at the

Court’s direction.
      Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 3 of 12




Dated: April 10, 2024                 Respectfully submitted,

                                      FOR PLAINTIFF STATE OF COLORADO

                                      PHILIP WEISER
                                      Attorney General

                                      Jonathan B. Sallet
                                      Special Assistant Attorney General

                                      /s/ Jonathan B. Sallet
                                      Jonathan B. Sallet, DC Bar No. 336198
                                      Steven M. Kaufmann, DC Bar No. 1022365 (inactive)
                                      Elizabeth W. Hereford
                                      Conor J. May
                                      Colorado Office of the Attorney General
                                      1300 Broadway, 7th Floor
                                      Denver, CO 80203
                                      Telephone: (720) 508-6000
                                      E-Mails: Jon.Sallet@coag.gov
                                                Steve.Kaufmann@coag.gov
                                                Elizabeth.Hereford@coag.gov
                                                Conor.May@coag.gov

                                      William F. Cavanaugh, Jr.
                                      PATTERSON BELKNAP WEBB & TYLER LLP
                                      1133 Avenue of the Americas
                                      Suite 2200
                                      New York, NY 10036-6710
                                      Telephone: (212) 335-2793
                                      E-Mail: wfcavanaugh@pbwt.com

                                      Counsel for Plaintiff State of Colorado
         Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 4 of 12




                                         FOR PLAINTIFF STATE OF NEBRASKA

                                         MIKE HILGERS
                                         Attorney General

                                         Colin P. Snider
                                         Assistant Attorney General
                                         Matthew K. McKinley
                                         Special Assistant Attorney General
                                         Nebraska Department of Justice
                                         Office of the Attorney General
                                         2115 State Capitol
                                         Lincoln, NE 68509
                                         Telephone: (402) 471-3840
                                         E-Mails: Colin.Snider@nebraska.gov
                                                  Matt.Mckinley@nebraska.gov

                                         William F. Cavanaugh, Jr.
                                         PATTERSON BELKNAP WEBB & TYLER LLP
                                         1133 Avenue of the Americas
                                         Suite 2200
                                         New York, NY 10036-6710
                                         Telephone: (212) 335-2793
                                         E-Mail: wfcavanaugh@pbwt.com

                                         Counsel for Plaintiff State of Nebraska

FOR PLAINTIFF STATE OF ARIZONA           FOR PLAINTIFF STATE OF IOWA

KRISTIN K. MAYES                         BRENNA BIRD
Attorney General                         Attorney General

Robert A. Bernheim, Unit Chief Counsel   Noah Goerlitz, Assistant Attorney General
Arizona Office of the Attorney General   Office of the Attorney General of Iowa
400 West Congress, Ste. S-315            1305 E. Walnut St., 2nd Floor
Tucson, Arizona 85701                    Des Moines, IA 50319
Telephone: (520) 628-6507                Telephone: (515) 725-1018
E-Mail: Robert.bernheim@azag.gov         E-Mail: Noah.goerlitz@ag.iowa.gov

Counsel for Plaintiff State of Arizona   Counsel for Plaintiff State of Iowa
         Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 5 of 12




FOR PLAINTIFF STATE OF NEW YORK              FOR PLAINTIFF STATE OF NORTH CAROLINA

LETITIA JAMES                                JOSH STEIN
Attorney General                             Attorney General

Elinor R. Hoffmann                           Kunal Janak Choksi
Morgan J. Feder                              Joshua Daniel Abram
Michael Schwartz                             Jonathan R. Marx
Office of the Attorney General of New        Jessica Vance Sutton
York                                         North Carolina Department of Justice
28 Liberty Street, 21st Floor                114 W. Edenton St.
New York, NY 10005                           Raleigh, NC 27603
Telephone: (212) 416-8513                    Telephone: (919) 716-6000
E-Mails: Elinor.hoffmann@ag.ny.gov           E-Mails: kchoksi@ncdoj.gov
         Morgan.feder@ag.ny.gov                       jabram@ncdoj.gov
         Michael.schwartz@ag.ny.gov                   jmarx@ncdoj.gov
                                                      jsutton2@ncdoj.gov
Counsel for Plaintiff State of New York
                                             Counsel for Plaintiff State of North Carolina

FOR PLAINTIFF STATE OF                       FOR PLAINTIFF STATE OF UTAH
TENNESSEE
                                             SEAN REYES
JONATHAN SKRMETTI                            Attorney General
Attorney General
                                            Scott R. Ryther
J. David McDowell                           Tara Pincock
Chris Dunbar                                Utah Office of Attorney General
Austin Ostiguy                              160 E 300 S, 5th Floor
Tyler Corcoran                              P.O. Box 142320
Office of the Attorney General and Reporter Salt Lake City, Utah 84114
P.O. Box 20207                              Telephone: (385) 881-3742
Nashville.TN 37202                          E-Mail: sryther@agutah.gov
Telephone: (615) 741-8722                           tpincock@agutah.gov
E-Mails: David.McDowell@ag.tn.gov
         Chris.Dunbar@ag.tn.gov             Counsel for Plaintiff State of Utah
         austin.ostiguy@ag.tn.gov
         Tyler.Corcoran@ag.tn.gov

Counsel for Plaintiff State of Tennessee
         Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 6 of 12




FOR PLAINTIFF STATE OF ALASKA                FOR PLAINTIFF STATE OF CONNECTICUT

TREG TAYLOR                                  WILLIAM TONG
Attorney General                             Attorney General

Jeff Pickett                                 Nicole Demers
State of Alaska, Department of Law           Office of the Attorney General of Connecticut
Office of the Attorney General               165 Capitol Avenue, Suite 5000
1031 W. Fourth Avenue, Suite 200             Hartford, CT 06106
Anchorage, Alaska 99501                      Telephone: (860) 808-5202
Telephone: (907) 269-5100                    E-Mail: Nicole.demers@ct.gov
E-Mail: Jeff.pickett@alaska.gov
                                             Counsel for Plaintiff State of Connecticut
Counsel for Plaintiff State of Alaska
FOR PLAINTIFF STATE OF                       FOR PLAINTIFF DISTRICT OF COLUMBIA
DELAWARE
                                             BRIAN SCHWALB
KATHY JENNINGS                               Attorney General
Attorney General
                                             Elizabeth Gentry Arthur
Michael Andrew Undorf                        Office of the Attorney General for the District of
Delaware Department of Justice               Columbia
Fraud and Consumer Protection Division       400 6th Street NW
820 N. French St., 5th Floor                 Washington, DC 20001
Wilmington, DE 19801                         Telephone: (202) 724-6514
Telephone: (302) 577-8924                    E-Mail: Elizabeth.arthur@dc.gov
E-Mail: Michael.undorf@delaware.gov
                                             Counsel for Plaintiff District of Columbia
Counsel for Plaintiff State of Delaware

FOR PLAINTIFF TERRITORY OF                   FOR PLAINTIFF STATE OF HAWAI‘I
GUAM
                                             ANNE E. LOPEZ
DOUGLAS MOYLAN                               Attorney General
Attorney General
                                             Rodney I. Kimura
Fred Nishihira, Chief, Consumer Protection   Department of the Attorney General, State of Hawai‘i
Division                                     Commerce & Economic Development
Office of the Attorney General of Guam       425 Queen Street
590 S. Marine Corps Drive, Suite 901         Honolulu, HI 96813
Tamuning, Guam 96913                         Telephone (808) 586-1180
Telephone: (671) 475-3324                    E-Mail: Rodney.i.kimura@hawaii.gov

Counsel for Plaintiff Territory Guam         Counsel for Plaintiff State of Hawai‘i
         Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 7 of 12




FOR PLAINTIFF STATE OF IDAHO                 FOR PLAINTIFF STATE OF ILLINOIS

RAÚL LABRADOR                                KWAME RAOUL
Attorney General                             Attorney General

John K. Olson                                Elizabeth Maxeiner
Office of the Idaho Attorney General         Brian Yost
Consumer Protection Division                 Office of the Attorney General of Illinois
954 W. State St., 2nd Floor                  100 W. Randolph St.
P.O. Box 83720                               Chicago, IL 60601
Boise, ID 83720                              Telephone: (773) 590-7935
Telephone: (208) 334-4114                    E-Mails: Elizabeth.maxeiner@ilag.gov
E-Mails: Brett.delange@ag.idaho.gov                   Brian.yost@ilag.gov
         John.olson@ag.idaho.gov
                                             Counsel for Plaintiff State of Illinois
Counsel for Plaintiff State of Idaho
FOR PLAINTIFF STATE OF KANSAS                FOR PLAINTIFF STATE OF MAINE

KRIS W. KOBACH                               AARON M. FREY
Attorney General                             Attorney General

Lynette R. Bakker                            Christina M. Moylan
Kansas Office of the Attorney General        Office of the Attorney General of Maine
120 S.W. 10th Avenue., 2nd Floor             6 State House Station
Topeka, KS 66612                             August, ME 04333
Telephone: (785) 296-3751                    Telephone: (207) 626-8800
E-Mail: Lynette.bakker@ag.ks.gov             E-Mail: Christina.moylan@maine.gov

Counsel for Plaintiff State of Kansas        Counsel for Plaintiff State of Maine

FOR PLAINTIFF STATE OF                       FOR PLAINTIFF COMMONWEALTH
MARYLAND                                     MASSACHUSETTS

ANTHONY G. BROWN                             ANDREA CAMPBELL
Attorney General                             Attorney General

Schonette J. Walker                          William T. Matlack
Gary Honick                                  Michael B. MacKenzie
Office of the Attorney General of Maryland   Office of the Attorney General of Massachusetts
200 St. Paul Place, 19th Floor               One Ashburton Place, 18th Fl.
Baltimore, MD 21202                          Boston, MA 02108
Telephone: (410) 576-6480                    Telephone: (617) 727-2200
E-Mails: swalker@oag.state.md.us             E-Mails: William.matlack@mass.gov
         ghonick@oag.state.md.us                      Michael.Mackenzie@mass.gov

Counsel for Plaintiff State of Maryland      Counsel for Plaintiff State of Massachusetts
         Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 8 of 12




FOR PLAINTIFF STATE MINNESOTA              FOR PLAINTIFF STATE OF NEVADA

KEITH ELLISON                              AARON D. FORD
Attorney General                           Attorney General

Zachary William Biesanz                    Michelle Christine Newman
Office of the Minnesota Attorney General   Lucas J. Tucker
Consumer, Wage, and Antitrust Division     Nevada Office of the Attorney General
445 Minnesota Street, Suite 1400           100 N. Carson Street
St. Paul, MN 55101                         Carson City, NV 89701
Telephone: (651) 757-1257                  Telephone: (775) 684-1164
E-Mail: Zach.biesanz@ag.state.mn.us        E-Mails: mnewman@ag.nv.gov
                                                    ltucker@ag.nv.gov
Counsel for Plaintiff State of Minnesota
                                           Counsel for Plaintiff State of Nevada

FOR PLAINTIFF STATE OF NEW                 FOR PLAINTIFF STATE OF NEW JERSEY
HAMPSHIRE
                                           MATT PLATKIN
JOHN FORMELLA                              Attorney General
Attorney General
                                           Isabella R. Pitt
Brandon Garod                              Deputy Attorney General
Office of Attorney General of New          New Jersey Attorney General’s Office
Hampshire                                  124 Halsey Street, 5th Floor
33 Capitol Street                          Newark, NJ 07102
Concord, NH 03301                          Telephone: (973) 648-7819
Telephone: (603) 271-1217                  E-Mail: Isabella.Pitt@law.njoag.gov
E-Mail: Brandon.h.garod@doj.nh.gov
                                           Counsel for Plaintiff State of New Jersey
Counsel for Plaintiff State of New
Hampshire
FOR PLAINTIFF STATE OF NEW                 FOR PLAINTIFF STATE NORTH DAKOTA
MEXICO
                                           DREW WRIGLEY
RAÚL TORRES                                Attorney General
Attorney General
                                          Elin S. Alm
Cholla Khoury                             Assistant Attorney General
Assistant Attorney General                Consumer Protection and Antitrust Division
New Mexico Office of the Attorney General Office of the Attorney General of North Dakota
408 Galisteo St.                          1720 Burlington Drive, Suite C
Santa Fe, NM 87504 Telephone: (505) 490- Bismarck, ND 58504
4885 E-Mails: ckhoury@nmag.gov            Telephone: (701) 328-5570
                                          E-Mail: ealm@nd.gov
Counsel for Plaintiff State of New Mexico
                                          Counsel for Plaintiff State of North Dakota
         Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 9 of 12




FOR PLAINTIFF STATE OHIO                  FOR THE PLAINTIFF STATE OKLAHOMA

DAVE YOST                                 GENTNER DRUMMOND
Attorney General                          Attorney General

Jennifer Pratt                            Caleb J. Smith
Beth Ann Finnerty                         Office of the Oklahoma Attorney General
Mark Kittel                               313 NE 21st St
Office of the Attorney General of Ohio    Oklahoma City, OK 73105
30 E Broad Street, 26th Floor             Telephone: (405) 522-1014
Columbus, OH 43215                        E-Mail: Caleb.Smith@oag.ok.gov
Telephone: (614) 466-4328
E-Mails:                                  Counsel for Plaintiff State of Oklahoma
Jennifer.pratt@ohioattorneygeneral.gov
Beth.finnerty@ohioattorneygeneral.gov
Mark.kittel@ohioattorneygeneral.gov

Counsel for Plaintiff State of Ohio

FOR PLAINTIFF STATE OREGON                FOR PLAINTIFF COMMONWEALTH
                                          PENNSYLVANIA
ELLEN ROSENBLUM
Attorney General                          MICHELLE HENRY
                                          Attorney General
Cheryl Hiemstra
Oregon Department of Justice              Tracy W. Wertz
1162 Court St. NE                         Joseph S. Betsko
Salem, OR 97301                           Pennsylvania Office of Attorney General
Telephone: (503) 934-4400                 Strawberry Square
E-Mail: Cheryl.hiemstra@doj.state.or.us   Harrisburg, PA 17120
                                          Telephone: (717) 787-4530
Counsel for Plaintiff State of Oregon     E-Mails: jbetsko@attorneygeneral.gov
                                                   twertz@attorneygeneral.gov

                                          Counsel for Plaintiff Commonwealth of Pennsylvania
        Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 10 of 12




FOR PLAINTIFF TERRITORY PUERTO                FOR PLAINTIFF STATE RHODE ISLAND
RICO
                                              PETER NERONHA
DOMINGO HERNANDEZ                             Attorney General
Attorney General
                                              Stephen Provazza
Guarionex Diaz Martinez                       Rhode Island Office of the Attorney General
Assistant Attorney General                    150 South Main Street
Antitrust Division                            Providence, RI 02903
Puerto Rico Department of Justice             Telephone: (401) 274-4400
P.O. Box 9020192                              E-Mail: SProvazza@riag.ri.gov
San Juan, Puerto Rico 00902
Telephone: (787) 721-2900, Ext. 1201          Counsel for Plaintiff State of Rhode Island
E-Mail: gdiaz@justicia.pr.gov

Counsel for Plaintiff Territory Puerto Rico
Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 11 of 12




FOR PLAINTIFF STATE SOUTH                      FOR PLAINTIFF STATE VERMONT
DAKOTA
                                               CHARITY R. CLARK
MARTY J. JACKLEY                               Attorney General
Attorney General
                                               Christopher J. Curtis
Yvette K. Lafrentz                             Assistant Attorney General
Office of the Attorney General of South        Office of the Attorney General of Vermont
Dakota                                         109 State St.
1302 E. Hwy 14, Suite 1                        Montpelier, VT 05609
Pierre, SD 57501                               Telephone: (802) 828-3170
Telephone: (605) 773-3215                      E-Mail: Ryan.kriger@vermont.gov
E-Mail: Yvette.lafrentz@state.sd.us
                                               Counsel for Plaintiff State of Vermont
Counsel for Plaintiff State of South Dakota
FOR PLAINTIFF COMMONWEALTH                     FOR PLAINTIFF STATE WASHINGTON
VIRGINIA
                                               BOB FERGUSON
JASON S. MIYARES                               Attorney General
Attorney General
                                               Amy Hanson
Tyler T. Henry                                 Washington State Attorney General
Office of the Attorney General of Virginia     800 Fifth Avenue, Suite 2000
202 N. 9th Street                              Seattle, WA 98104
Richmond, VA 23219                             Telephone: (206) 464-5419
Telephone: (804) 692-0485                      E-Mail: Amy.hanson@atg.wa.gov
E-Mail: thenry@oag.state.va.us
                                               Counsel for Plaintiff State of Washington
Counsel for Plaintiff State of Virginia
FOR PLAINTIFF STATE WEST                       FOR PLAINTIFF STATE WYOMING
VIRGINIA
                                               BRIDGET HILL
PATRICK MORRISEY                               Attorney General
Attorney General
                                               Benjamin Peterson
Douglas Lee Davis                              Wyoming Attorney General’s Office
Office of the Attorney General, State of       2320 Capitol Avenue
West Virginia                                  Kendrick Building
1900 Kanawha Boulevard, East                   Cheyenne, WY 82002
Building 6, Suite 402                          Telephone: (307) 777-6397
P.O. Box 1789                                  E-Mail: Benjamin.peterson2@wyo.gov
Charleston, WV 25305
Telephone: (304) 558-8986                      Counsel for Plaintiff State of Wyoming
E-Mail: Douglas.l.davis@wvago.gov

Counsel for Plaintiff State of West Virginia
Case 1:20-cv-03010-APM Document 885 Filed 04/11/24 Page 12 of 12
